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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              :
UNITED STATES OF AMERICA                      :      Case No.: 23-cr-03 (RCL)
                                              :
        v.                                    :
                                              :
ZACHARIAH SATTLER,                            :
                                              :
        Defendant.                            :
                                              :

             JOINT MOTION TO CONVERT STATUS HEARING TO A PLEA

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, Zachariah Sattler, with the concurrence of his counsel,

move to convert the status hearing currently scheduled for Thursday, March 30, 2023, at

12:30 p.m., to a plea hearing via videoconference. The parties have reached an agreement to a

non-trial disposition in this case.



                                                     Respectfully submitted,
FOR THE DEFENDANT:
     A.J. KRAMER                                     MATTHEW M. GRAVES
     Federal Public Defender                         United States Attorney
                                                     D.C. Bar No. 481052
By:     /s/ Eugene Ohm
                                              By:    /s/ Nathaniel K. Whitesel
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